Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cheektowaga Concrete, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5690 Camp Road                                                  100 Stradtman Street
                                  Hamburg, NY 14075                                               Buffalo, NY 14206
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Erie County
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Cheektowaga Concrete, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3273

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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         Name

                              $50,001 - $100,000          $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million       $100,000,001 - $500 million          More than $50 billion




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Debtor    Cheektowaga Concrete, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2023
                                                  MM / DD / YYYY


                             X /s/ Rosanne DiPizio                                                        Rosanne DiPizio
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   General Manager




18. Signature of attorney    X /s/ Robert B. Gleichenhaus, Esq.                                            Date September 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert B. Gleichenhaus, Esq.
                                 Printed name

                                 Gleichenhaus, Marchese & Weishaar, P.C.
                                 Firm name

                                 930 Convention Tower
                                 43 Court Street
                                 Buffalo, NY 14202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (716) 845-6446                Email address


                                 4098570 NY
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 19, 2023              X /s/ Rosanne DiPizio
                                                           Signature of individual signing on behalf of debtor

                                                            Rosanne DiPizio
                                                            Printed name

                                                            General Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:
 Debtor name Cheektowaga Concrete, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 M&T Bank                                                                                               $1,895,590.00                         $0.00          $1,895,590.00
 1 M&T Plaza
 Buffalo, NY 14203
 NYBDC                                                                                                  $2,400,000.00                         $0.00          $2,400,000.00
 50 Beaver Street
 PO Box 738
 Albany, NY 12201
 Wells Fargo Bank,                                                                                      $2,000,000.00                         $0.00          $2,000,000.00
 N.A.
 P.O. Box 10335
 Des Moines, IA
 50306-0335




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Fill in this information to identify the case:

 Debtor name            Cheektowaga Concrete, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,416,001.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            13,100.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,429,101.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        7,880,382.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,880,382.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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                                       Description: Main Document , Page 9 of 46
Fill in this information to identify the case:

Debtor name         Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Lake Shore Savings                                operating                             9019                                     $1,500.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,500.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     474 Logistics rental security deposit                                                                                            $4,800.00




          7.2.     Big Tree rental security deposit                                                                                                 $1,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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                 Name




          7.3.     Russo Construction rental security deposit                                                            $2,400.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                             $8,200.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      3,400.00      -                                 0.00 = ....     $3,400.00
                                        face amount                         doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                             $3,400.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                       page 2

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Debtor       Cheektowaga Concrete, LLC                                             Case number (If known)
             Name



Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of        Nature and           Net book value of        Valuation method used       Current value of
          property                           extent of            debtor's interest        for current value           debtor's interest
          Include street address or other    debtor's interest    (Where available)
          description such as Assessor       in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Manufacturing plant
                  on 18 acres: located
                  at

                  5710 Camp Rd,
                  Hamburg, NY 14075
                  SBL No.:
                  182.160-7-3.100            fee simple                                    Tax records                         $2,500,000.00


          55.2.   14 acres of
                  contiguous property
                  located:

                  Camp Rd, Hamburg,
                  NY 14075
                  SBL No.:
                  182.200-10-7.210           fee simple                                    Tax records                           $360,000.00


          55.3.   easment for
                  contiguous property
                  located:

                  Camp Rd, Hamburg,
                  NY 14075
                  SBL No.:
                  182.160-3-31               fee simple                                    N/A                                             $1.00


          55.4.   7.6 acres of
                  contiguous property
                  located:

                  Church Street,
                  Hamburg, NY 14075
                  SBL No.:
                  182.200-10-4.100                                                         Tax records                            $20,000.00




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                                           page 3

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Debtor        Cheektowaga Concrete, LLC                                                    Case number (If known)
              Name

           55.5.    13.63 acres of
                    contiguous property
                    located:

                    Elmview Avenue,
                    Hamburg, NY 14075
                    SBL No.:
                    182.160-3-21.110               fee simple                                         Tax records            $535,000.00


           55.6.    .24 acres of vacant
                    land

                    Hurdville Road,
                    Arcade New York
                    SBL No.: 182-1-13              fee ismple                                         Tax records              $1,000.00




56.        Total of Part 9.                                                                                             $3,416,001.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           Property / Liability insurance                                                                                           $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 4

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Debtor      Cheektowaga Concrete, LLC                                               Case number (If known)
            Name

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                   $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property           page 5

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Debtor          Cheektowaga Concrete, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,500.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $8,200.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $3,400.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,416,001.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $13,100.00          + 91b.            $3,416,001.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,429,101.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6

                    Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
                                   Description: Main Document , Page 15 of 46
Fill in this information to identify the case:

Debtor name         Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Erie County                                  Describe debtor's property that is subject to a lien                   $96,330.00              $360,000.00
      Creditor's Name                              14 acres of contiguous property located:
       Dept. of Real Property Tax
      Services                                     Camp Rd, Hamburg, NY 14075
      95 Franklin St., Room 100                    SBL No.: 182.200-10-7.210
      Buffalo, NY 14202
      Creditor's mailing address                   Describe the lien
                                                   Real Property tax arrears
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2018+                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Erie County                                  Describe debtor's property that is subject to a lien                     $5,685.00               $20,000.00
      Creditor's Name                              7.6 acres of contiguous property located:
       Dept. of Real Property Tax
      Services                                     Church Street, Hamburg, NY 14075
      95 Franklin St., Room 100                    SBL No.: 182.200-10-4.100
      Buffalo, NY 14202
      Creditor's mailing address                   Describe the lien
                                                   Real Property tax arrears
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2018+                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5


                   Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
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Debtor      Cheektowaga Concrete, LLC                                                             Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Erie County                                 Describe debtor's property that is subject to a lien                 $1,081,941.00     $2,500,000.00
      Creditor's Name                             Manufacturing plant on 18 acres: located at
       Dept. of Real Property Tax
      Services                                    5710 Camp Rd, Hamburg, NY 14075
      95 Franklin St., Room 100                   SBL No.: 182.160-7-3.100
      Buffalo, NY 14202
      Creditor's mailing address                  Describe the lien
                                                  Real Property tax arreras
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2018+                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Erie County                                 Describe debtor's property that is subject to a lien                     $400,835.00    $535,000.00
      Creditor's Name                             13.63 acres of contiguous property located:
       Dept. of Real Property Tax
      Services                                    Elmview Avenue, Hamburg, NY 14075
      95 Franklin St., Room 100                   SBL No.: 182.160-3-21.110
      Buffalo, NY 14202
      Creditor's mailing address                  Describe the lien
                                                  Real Property tax arrears
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2018+                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   M&T Bank                                    Describe debtor's property that is subject to a lien                 $1,895,590.00            $0.00
      Creditor's Name

      1 M&T Plaza
      Buffalo, NY 14203
      Creditor's mailing address                  Describe the lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 5


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Debtor      Cheektowaga Concrete, LLC                                                             Case number (if known)
            Name

                                                  Judgment
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2021                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   NYBDC                                       Describe debtor's property that is subject to a lien                 $2,400,000.00          $0.00
      Creditor's Name
      50 Beaver Street
      PO Box 738
      Albany, NY 12201
      Creditor's mailing address                  Describe the lien
                                                  Mortgage
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2012                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Pioneer Tax Collector                       Describe debtor's property that is subject to a lien                        $1.00    $2,500,000.00
      Creditor's Name                             Manufacturing plant on 18 acres: located at

      Yorkshire-Pioneer CSD                       5710 Camp Rd, Hamburg, NY 14075
      P.O. box 1987                               SBL No.: 182.160-7-3.100
      Buffalo, NY 14240
      Creditor's mailing address                  Describe the lien
                                                  School Tax arrears
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2023                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 5


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Debtor       Cheektowaga Concrete, LLC                                                             Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.8    Village of Hamburg                          Describe debtor's property that is subject to a lien                            $0.00             $2,500,000.00
       Creditor's Name                             Notice purposes only
       100 Main Street
       Hamburg, NY 14075
       Creditor's mailing address                  Describe the lien
                                                   Village tax arrears
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2023                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.9    Wells Fargo Bank, N.A.                      Describe debtor's property that is subject to a lien                 $2,000,000.00                       $0.00
       Creditor's Name

       P.O. Box 10335
       Des Moines, IA 50306-0335
       Creditor's mailing address                  Describe the lien
                                                   Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       2012                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.




                                                                                                                            $7,880,382.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 5


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Debtor    Cheektowaga Concrete, LLC                                         Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 5


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Fill in this information to identify the case:

Debtor name        Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Dreamco Development                                                  Contingent
          100 Stratdtman Street                                                Unliquidated
          Buffalo, NY 14206                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Business loan
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                     related creditor (if any) listed?                account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                            5a.        $                              0.00
5b. Total claims from Part 2                                                                            5b.   +    $                              0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
                                                                                                          31898
                   Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
                                  Description: Main Document , Page 21 of 46
Fill in this information to identify the case:

Debtor name       Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            $4800/month
           lease is for and the nature of
           the debtor's interest

               State the term remaining          3 years
                                                                                    474 Logistics
           List the contract number of any                                          5690 Camp Road
                 government contract                                                Hamburg, NY 14075


2.2.       State what the contract or            $1000/month
           lease is for and the nature of
           the debtor's interest

               State the term remaining          3 months
                                                                                    Big Tree Auto
           List the contract number of any                                          5690 Camp Road
                 government contract                                                Hamburg, NY 14075


2.3.       State what the contract or            $5880/month
           lease is for and the nature of
           the debtor's interest

               State the term remaining          18 months
                                                                                    Russo Construction
           List the contract number of any                                          5690 Camp Road
                 government contract                                                Hamburg, NY 14075


2.4.       State what the contract or            $750/month
           lease is for and the nature of
           the debtor's interest

               State the term remaining          16 years
                                                                                    United Refineries
           List the contract number of any                                          5690 Camp Road
                 government contract                                                Hamburg, NY 14075




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2


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Debtor 1 Cheektowaga Concrete, LLC                                               Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        $1000/month
          lease is for and the nature of
          the debtor's interest

             State the term remaining       10 months
                                                                        VCNA Cement
          List the contract number of any                               5690 Camp Road
                government contract                                     Hamburg, NY 14075




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2


                Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
                               Description: Main Document , Page 23 of 46
Fill in this information to identify the case:

Debtor name      Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Benard Dipizio              100 Stradtman Park                                        M&T Bank                           D   2.5
                                      Buffalo, NY 14206                                                                            E/F
                                                                                                                                   G




   2.2    Dipizio                     100 Stradtman Street                                      M&T Bank                           D   2.5
          Construction                Buffalo, NY 14206                                                                            E/F
          Company, Inc.
                                                                                                                                   G




   2.3    Great Lakes                 100 Stradtman Street                                      M&T Bank                           D   2.5
          Concrete                    Buffalo, NY 14206                                                                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1

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                              Description: Main Document , Page 24 of 46
Fill in this information to identify the case:

Debtor name         Cheektowaga Concrete, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $135,000.00
      From 1/01/2023 to Filing Date                                                                approximate gross
                                                                                          Other    rent


      For prior year:                                                                     Operating a business                               $138,000.00
      From 1/01/2022 to 12/31/2022                                                                 approximate gross
                                                                                          Other    rent


      For year before that:                                                               Operating a business                               $180,000.00
      From 1/01/2021 to 12/31/2021                                                                 approximate gross
                                                                                          Other    rent

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1


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Debtor       Cheektowaga Concrete, LLC                                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Erie County v. Cheektowaga                In rem tax                  Erie County Court                             Pending
             Concreete                                 foreclosure                                                               On appeal
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2


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Debtor        Cheektowaga Concrete, LLC                                                           Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Gleichenhaus, Marchese &
               Weishaar, P.C.
               930 Convention Tower
               43 Court Street
               Buffalo, NY 14202                         Attorney Fees                                                 09/2023                   $10,000.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3


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    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        The ZLC Group CPAs



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Great Lakes Concrete                    5690 Camp Road                                      Sole Member                               100%
      Products, LLC                           Hamburg, NY 14075

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Rosanne DiPizio                         100 Stradtman Park                                  General Manager                           0.0%
                                              Buffalo, NY 14206



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Estate of Bohemer                                                                           General Memeber                      2006-2008




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6


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      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Benard DiPizio                         100 Stradtman Park                                  Managing Member                    2006-2008
                                             Buffalo, NY 14206


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Managing Member
      .                                                                                                                             $1900/month

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 19, 2023

/s/ Rosanne DiPizio                                             Rosanne DiPizio
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   General Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8


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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Western District of New York
 In re       Cheektowaga Concrete, LLC                                                                        Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                395.00/hour
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       TBD

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     c. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 19, 2023                                                       /s/ Robert B. Gleichenhaus, Esq.
     Date                                                                     Robert B. Gleichenhaus, Esq.
                                                                              Signature of Attorney
                                                                              Gleichenhaus, Marchese & Weishaar, P.C.
                                                                              930 Convention Tower
                                                                              43 Court Street
                                                                              Buffalo, NY 14202
                                                                              (716) 845-6446 Fax: (716) 845-6475
                                                                              Name of law firm




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                                                            Western District of New York
 In re    Cheektowaga Concrete, LLC                                                                               Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Great Lakes Concrete Products, LLC                                                                                           100%
5690 Camp Road
Hamburg, NY 14075


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the General Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 19, 2023                                                  Signature /s/ Rosanne DiPizio
                                                                                        Rosanne DiPizio

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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 In re   Cheektowaga Concrete, LLC                                                              Case No.
                                                                    Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the General Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     September 19, 2023                            /s/ Rosanne DiPizio
                                                        Rosanne DiPizio/General Manager
                                                        Signer/Title




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                     474 Logistics
                     5690 Camp Road
                     Hamburg, NY 14075


                     Benard Dipizio
                     100 Stradtman Park
                     Buffalo, NY 14206


                     Big Tree Auto
                     5690 Camp Road
                     Hamburg, NY 14075


                     Dipizio Construction Company, Inc.
                     100 Stradtman Street
                     Buffalo, NY 14206


                     Dreamco Development
                     100 Stratdtman Street
                     Buffalo, NY 14206


                     Erie County
                      Dept. of Real Property Tax Services
                     95 Franklin St., Room 100
                     Buffalo, NY 14202


                     Great Lakes Concrete
                     100 Stradtman Street
                     Buffalo, NY 14206


                     M&T Bank
                     1 M&T Plaza
                     Buffalo, NY 14203


                     NYBDC
                     50 Beaver Street
                     PO Box 738
                     Albany, NY 12201


                     Pioneer Tax Collector
                     Yorkshire-Pioneer CSD
                     P.O. box 1987
                     Buffalo, NY 14240




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                 Russo Construction
                 5690 Camp Road
                 Hamburg, NY 14075


                 United Refineries
                 5690 Camp Road
                 Hamburg, NY 14075


                 VCNA Cement
                 5690 Camp Road
                 Hamburg, NY 14075


                 Village of Hamburg
                 100 Main Street
                 Hamburg, NY 14075


                 Wells Fargo Bank, N.A.
                 P.O. Box 10335
                 Des Moines, IA 50306-0335




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                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Cheektowaga Concrete, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 19, 2023                               /s/ Robert B. Gleichenhaus, Esq.
Date                                             Robert B. Gleichenhaus, Esq.
                                                 Signature of Attorney or Litigant
                                                 Counsel for Cheektowaga Concrete, LLC
                                                 Gleichenhaus, Marchese & Weishaar, P.C.
                                                 930 Convention Tower
                                                 43 Court Street
                                                 Buffalo, NY 14202
                                                 (716) 845-6446 Fax:(716) 845-6475




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:

         Cheektowaga Concrete, LLC,                                  Case No.: 23-___________

                                      Debtor.


         DECLARATION OF ROSANNE DIPIZIO REGARDING SMALL BUSINESS
         DOCUMENTS REQUIRED TO BE FILED PURSUANT TO 11 U.S.C. § 1116

         Pursuant to 28 U.S.C. § 1746, Rosanne DiPizio declares, under penalty of perjury, as

follows:

         1.     Contemporaneously with the filing of this Declaration, Cheektowaga Concrete,

LLC filed a voluntary petition under Chapter 11 in the United States Bankruptcy Court for the

Western District of New York (the “Filing”).

         2.     I am the General Manager and an officer of Cheektowaga Concrete, LLC.

         3.     Cheektowaga Concrete, LLC is a “small business debtor,” within the definition of

11 U.S.C. § 101(51D).

         4.     Pursuant to 11 U.S.C. § 1116(1), a small business debtor is required to file the

following: (a) most recent balance sheet, statement of operations, cash-flow statement and Federal

income tax return; or (b) a statement made under penalty of perjury that no balance sheet, statement

of operations, cash-flow statement has been prepared and no Federal income tax return has been

filed.

         5.     Cheektowaga Concrete, LLC does not maintain a balance sheet, statement of

operations or cash-flow statement.

         6.     Cheektowaga Concrete, LLC has no current statement of operations, as described

in Section 1116(1)(A).




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          7.    A redacted copy of my last filed company income tax return is being filed

contemporaneously herewith.

          8.    No other documents described in Section 1116(1)(A) exist for the Debtor as of the

Filing.

          9.    This Declaration is being filed under penalty of perjury, pursuant to 11 U.S.C.

§ 1116(1)(B).

Dated: Buffalo, New York
       September 19, 2023                              /s/ Rosanne DiPizio
                                                                 Rosanne DiPizio




                                                2

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Form                                                 1065                                                                                             U.S. Return of Partnership Income                                                                                                                                       OMB No. 1545-0123


                                                                                                                                                                                                                                                                                                                               2022
                                                                                                            For calendar year 2022, or tax year beginning . . . . . . . . . . . . . . . . . . . . . , ending . . . . . . . . . . . . . . . . . . .                                                          .
Department of the Treasury
Internal Revenue Service                                                                                                       Go to                                                             for instructions and the latest information.
A                                                Principal business activity                                             Name of partnership                                                                                                                                                D         Employer identification number


                     MANUFACTURER                                                                                         GREAT LAKES CONCRETE PRODUCTS, LLC                                                                                                                                          **-***1204
B                                                Principal product or service                        Type                Number, street, and room or suite no. If a P.O. box, see instructions.                                                                                             E         Date business started
                                                                                                      or
                          CONCRETE                                                                   Print                5690 CAMP ROAD                                                                                                                                                              08/07/2006
C                                                Business code number                                                    City or town, state or province, country, and ZIP or foreign postal code                                                                                           F         Total assets
                                                                                                                                                                                                                                                                                                      (see instructions)
                                                                                                                          HAMBURG                                                                                NY 14075                                                                             $                       5,509,292
                                                 327300
G                                                Check applicable boxes:                              (1)                Initial return                 (2)                Final return (3)                              Name change (4)                                   Address change                        (5)          Amended return
H                                                Check accounting method: (1)                                            Cash                           (2)        X Accrual                          (3)                Other (specify): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2                                                           ..
J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
K Check if partnership: (1)       Aggregated activities for section 465 at-risk purposes (2)                                                                Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
     1a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a
      b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      1b
      c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1c
                                                   2       Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   2
 Income




                                                   3       Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              3
                                                   4       Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      4
                                                   5       Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                5
                                                   6       Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             6
                                                   7       Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                7
                                                   8       Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            8
                                                   9       Salaries and wages (other than to partners) (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                 9
 Deductions (see instructions for limitations)




                                                  10       Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            10
                                                  11       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  11
                                                  12       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                12                    604,000
                                                  13       Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         13
                                                  14       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           14
                                                  15       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              15
                                                  16a Depreciation (if required, attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               16a                                     75,265
                                                    b Less depreciation  reported     on     Form        1125-A           and      elsewhere              on     return       .............                    16b                                                          16c                                                       75,265
                                                  17 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     17
                                                  18 Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
                                                  19       Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    19
                                                  20       Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            20
                                                  21       Total deductions. Add the amounts shown in the far right column for lines 9 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                     21                   679,265
                                                  22       Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            22                  -679,265
                                                  23       Interest due under the look-back method—completed long-term contracts (attach Form 8697) . . . . . . . . . . . . . . . . . . . . . .                                                                                                             23
Tax and Payment




                                                  24       Interest due under the look-back method—income forecast method (attach Form 8866) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                        24
                                                  25       BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                25
                                                  26       Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   26
                                                  27       Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       27
                                                  28       Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 28
                                                  29       Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               29
                                                  30       Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
Sign                                                        and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information
                                                            of which preparer has any knowledge.                                                                                                                        May the IRS discuss this return
Here                                                                                                                                                                                                                    with the preparer shown below?

                                                               Signature of partner or limited liability company member                                                                                                                            Date
                                                                                                                                                                                                                                                                                                          See instructions.   X Yes                   No

                                                              Print/Type preparer's name                                                                               Preparer's signature                                                                                  Date                          Check       X if       PTIN
Paid    PETER D. STEVANOFF CPA         PETER D. STEVANOFF CPA                                                                                                                                                                                                                 03/13/23                     self-employed        *********
Preparer FFirm's name   THE ZLC GROUP, CPAS, LLC                                                                                                                                                                                                                                            Firm's EIN             **-***3799
Use Only Firm's address 3368 NASH ROAD
                                                                                                     HAMBURG, NY                                                                                                 14075                                                                      Phone no.              716-675-4100
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                                                                                                Form 1065 (2022)
DAA                                                                           Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
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Form 1065 (2022)                  GREAT LAKES CONCRETE PRODUCTS, LLC                                                                                                            **-***1204                                                                                                Page 2
  Schedule B                         Other Information
 1      What type of entity is filing this return? Check the applicable box:                                                                                                                                                                                                          Yes     No
  a        Domestic general partnership                   b        Domestic limited partnership
  c     X Domestic limited liability company                                                d              Domestic limited liability partnership
  e            Foreign partnership                                                          f              Other: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 2      At the end of the tax year:
  a     Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
        exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
        loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
        B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  X
  b     Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
        the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
        on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       X
 3      At the end of the tax year, did the partnership:
  a     Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
        stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
        If "Yes," complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             X
                                  (i) Name of Corporation                                                      (ii) Employer Identification                                                             (iii) Country of                                                    (iv) Percentage
                                                                                                                     Number (if any)                                                                     Incorporation                                                    Owned in Voting Stock




  b     Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
        or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
        interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                      X
                                                                                                 (ii) Employer                                                                                                                                                                 (v) Maximum
                              (i) Name of Entity                                                                                                 (iii) Type of                                                     (iv) Country of
                                                                                                 Identification                                                                                                                                                           Percentage Owned in
                                                                                                Number (if any)                                       Entity                                                        Organization                                          Profit, Loss, or Capital




 4      Does the partnership satisfy all four of the following conditions?                                                                                                                                                                                                            Yes     No
  a     The partnership's total receipts for the tax year were less than $250,000.
  b     The partnership's total assets at the end of the tax year were less than $1 million.
  c     Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including extensions)
        for the partnership return.
  d     The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          X
        If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
        or item L on Schedule K-1.
 5      Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
 6      During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
        so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 7      Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
        information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 8      At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
        a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
        See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
        Financial Accounts (FBAR). If “Yes,” enter the name of the foreign country                                                                                                                                                                                                            X
 9      At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or transferor
        to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report Transactions With
        Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               X
 10a Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                              X
     See instructions for details regarding a section 754 election.
   b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
     attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                      X
  c Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
     substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
     734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   X
                                                                                                                                                                                                                                                                           Form 1065 (2022)
DAA                             Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08,
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Form 1065 (2022)                    GREAT LAKES CONCRETE PRODUCTS, LLC                                                                                                                        **-***1204                                                                                       Page 3
  Schedule B                            Other Information (continued)
11     Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-                                                                                                                                                               Yes   No
       kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
       partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
12     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
       undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
13     If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
       Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
       instructions               .......................................................................................................................                                                                                                                          0
14     Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
       Information Statement of Section 1446 Withholding Tax, filed for this partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                         X
15     Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
       to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                0
16a    Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  b    If "Yes," did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
17     Enter the number of Form 5471, Information Return of U.S. Persons With Respect to Certain Foreign Corporations,
       attached to this return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           0
18     Enter the number of partners that are foreign governments under section 892 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                           0
19     During the partnership’s tax year, did the partnership make any payments that would require it to file Forms 1042
       and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
20     Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
       for Form 8938 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
21     Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                   X
22     During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
       not allowed a deduction under section 267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              X
       If “Yes,” enter the total amount of the disallowed deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              $
23     Did the partnership have an election under section 163(j) for any real property trade or business or any farming
       business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            X
24     Does the partnership satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         X
  a    The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
  b    The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $27 million and the partnership has business interest.
   c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
       If “Yes” to any, complete and attach Form 8990.
25     Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                X
       If “Yes,” enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
26     Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
       interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                 0
       Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
27     At any time during the tax year, were there any transfers between the partnership and its partners subject to the
       disclosure requirements of Regulations section 1.707-8? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
28     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
       constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
       purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of the
       foreign corporation)? If “Yes,” list the ownership percentage by vote and by value. See instructions.
       Percentage:                                                                                                                  By vote:                                                                           By value:                                                                 X
29     Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
30     Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                                                                                                                                                X
       If “Yes,” the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
       line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              2
       If “No,” complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR

U.S. address                                                                                                                                                                                               U.S. phone
of PR                                                                                                                                                                                                      number of PR
If the PR is an entity, name of the designated individual for the PR
U.S. address of                                                                                                                                                                                            U.S. phone number of
designated individual                                                                                                                                                                                      designated individual
DAA                                Case 1-23-10949-CLB, Doc 1, Filed 09/19/23, Entered 09/19/23 20:31:08, Form 1065 (2022)
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  Form 1065 (2022)                                     GREAT LAKES CONCRETE PRODUCTS, LLC                                                                                                                    **-***1204                                                                         Page 4
        Schedule K                                        Partners' Distributive Share Items                                                                                                                                                                                     Total amount
                                   1      Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                1            -679,265
                                   2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           2              13,625
                                   3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3a
                                    b Expenses from other rental activities (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         3b
                                    c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            3c
                                   4 Guaranteed payments: a Services                                                                                               b Capital
          Income (Loss)




                                                                                               4a                                                                                            4b
                                      c Total. Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             4c
                                   5 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 5
                                   6 Dividends and dividend equivalents: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    6a
                                          b Qualified dividends 6b                                                                                  c Dividend equivalents 6c
                                   7      Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    7
                                   8      Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   8
                                  9a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       9a
                                   b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9b
                                   c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      9c
                                 10 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     10              -13,386
                                 11 Other income (loss) (see instructions) Type:                                                                                                                                                                                        11
                                 12 Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                12
          Deductions




                                 13a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              13a
                                     b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            13b
                                     c Section 59(e)(2) expenditures: Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . (2) Amount:                                           13c(2)

                                     d Other deductions (see instructions) Type:                                                                                                                                                                                        13d
                                 14a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             14a           -679,265
 Employ-
  ment
  Self-




                                   b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  14b
                                   c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         14c
                                 15a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               15a
                                   b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15b
          Credits




                                     c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . .                                                                                         15c
                                     d Other rental real estate credits (see instructions)                  Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       15d
                                     e Other  rental credits  (see instructions)                            Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       15e
                                     f Other credits (see instructions)                                                                                                     Type:                                                                                       15f

                                 16       Attach Schedule K-2 (Form 1065), Partners’ Distributive Share Items—International, and check
                                          this box to indicate that you are reporting items of international tax relevance . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                 17a Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      17a                       -1
Other Information Minimum Tax
                  (AMT) Items




                                   b Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   Alternative




                                                                                                                                                                                                                                                                        17b
                                   c Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   17c
                                   d Oil, gas, and geothermal properties–gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       17d
                                   e Oil, gas, and geothermal properties–deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   17e
                                   f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       17f
                                 18a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               18a
                                   b Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            18b
                                   c Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           18c
                                 19a Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                19a
                                   b Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              19b
                                 20a Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    20a
                                   b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        20b
                                   c Other items and amounts (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE                           . . . . . . . . STATEMENT
                                                                                                                                                                                               . . . . . . . . . . . . . . . . . . . . . .1.....
                                 21       Total foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                21
                                                                                                                                                                                                                                                                                     Form 1065 (2022)




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Form 1065 (2022)                      GREAT LAKES CONCRETE PRODUCTS, LLC                                                                      **-***1204                                                                 Page 5
Analysis of Net Income (Loss) per Return
 1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21 . . .   1             -679,026
 2   Analysis by                                          (ii) Individual           (iii) Individual                                      (v) Exempt                   (vi)
                                (i) Corporate                                                                (iv) Partnership
     partner type:                                            (active)                  (passive)                                        Organization             Nominee/Other
   a General partners
   b Limited partners                                                                     -679,026
   Schedule L            Balance    Sheets per   Books                        Beginning     of tax year                                           End of tax year
                         Assets                                           (a)                            (b)                            (c)                          (d)
  1 Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    9,167                                                                     6,402
  2a Trade notes and accounts receivable . . . . . . . .                                         3,828,242                                                                      3,527,605
   b Less allowance for bad debts . . . . . . . . . . . . . . . .                                  100,000                    3,728,242                                           100,000                           3,427,605
  3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  4 U.S. Government obligations . . . . . . . . . . . . . . . . .
  5 Tax-exempt securities . . . . . . . . . . . . . . . . . . . . . . . .
  6 Other current assets
         (attach statement)             ...............................
 7a Loans to partners (or persons related to partners) . . .
  b Mortgage and real estate loans . . . . . . . . . . . . . .
 8 Other investments
         (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 9a Buildings and other depreciable assets . . . . . .                                           3,608,845                                                                      3,375,408
  b Less accumulated depreciation . . . . . . . . . . . . . .                                    1,724,303                    1,884,542                                         1,709,151                           1,666,257
10a Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  b Less accumulated depletion . . . . . . . . . . . . . . . . .
11 Land (net of any amortization) . . . . . . . . . . . . . . .                                                                       409,028                                                                         409,028
12a Intangible assets (amortizable only) . . . . . . . . . .
  b Less accumulated amortization . . . . . . . . . . . . . .
13 Other assets
         (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
14       Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     6,030,979                                                                             5,509,292
                           Liabilities and Capital
15       Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             4,036,619                                                                             4,036,619
16       Mortgages, notes, bonds payable in less than 1 year                                                                    965,779                                                                               965,779
17       Other current liabilities
                                                  SEE STMT 2                                                                     36,969                                                                                36,969
         (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
18       All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

19a Loans from partners (or persons related to partners)
  b Mortgages, notes, bonds payable in 1 year or more . . . .                                                               3,914,746                                                                               4,074,445
20 Other liabilities          SEE STMT 3                                                                                    2,623,761                                                                               2,623,761
         (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
21       Partners' capital accounts . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                -5,546,895                                                                              -6,228,281
22       Total liabilities and capital . . . . . . . . . . . . . . . . . . . .                                              6,030,979                                                                               5,509,292
   Schedule M-1                                  Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                                 Note: The partnership may be required to file Schedule M-3. See instructions.
 1       Net income (loss) per books . . . . . . . . . . . . .                                  -681,386 6         Income recorded on books this year not included
 2       Income included on Schedule K, lines 1, 2, 3c,                                                          on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                                          a Tax-exempt interest $ . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         books this year
         (itemize): . . . . . . . . .SEE     STMT 4
                                     .........................                                                      . ..................................................
         . ..........................................                2,206                         2,206            . ..................................................
 3       Guaranteed payments (other than health insurance) . . . .                                         7       Deductions included on Schedule K, lines 1 through 13d,
 4     Expenses recorded on books this year not                                                                  and 21, not charged against book income this year (itemize):
       included on Schedule K, lines 1 through
       13d, and 21 (itemize):                                                                                  a Depreciation $ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     a Depreciation    $ . . . . . . . . . . . . . . . . . . . . .154
                                                                  ......                                            . ..................................................
     b Travel and
       entertainment   $ ...........................                                                                . ..................................................

         . ..........................................                                                    8         Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         . ..........................................
                                                                                                     154 9         Income (loss) (Analysis of Net Income
 5       Add lines 1 through 4 . . . . . . . . . . . . . . . . . . . .                          -679,026           (Loss), line 1). Subtract line 8 from line 5 . . . . . . . . .                                    -679,026
   Schedule M-2                                  Analysis of Partners' Capital Accounts
 1       Balance at beginning of year . . . . . . . . . . . . .                               -5,566,669 6         Distributions: a Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 2       Capital contributed:                      a Cash . . . . . . . . . . .                                                               b Property . . . . . . . . . . . . . . . . . . . . . . . .
                                                   b Property . . . . . . . .                              7        Other decreases
 3       Net income (loss) (see instructions) . . . . . .                                       -679,026            (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 4       Other increases
         (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           . ..................................................
         . ..........................................
                                                                                                           8       Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 5                                                       -6,245,695
         Add lines 1 through 4 . . . . . . . . . . . . . . . . . . . .                                     9
                                                                          Balance at end of year. Subtract line 8 from line 5 -6,245,695
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Form      8825
(Rev. November 2018)
                                                                                       Rental Real Estate Income and Expenses of a
                                                                                              Partnership or an S Corporation                                                                                                                                 OMB No. 1545-0123
Department of the Treasury                                                                                            Attach to Form 1065 or Form 1120S.
Internal Revenue Service                                                                          Go to                                                             for the latest information.
Name                                                                                                                                                                                                                                    Employer identification number
     GREAT LAKES CONCRETE PRODUCTS, LLC                                                                                                                                                                                                 **-***1204
 1      Show the type and address of each property. For each rental real estate property listed, report the number of days rented at fair
        rental value and days with personal use. See instructions. See page 2 to list additional properties.
        Physical address of each property—street, city, state,                                                                                                          Type—Enter code 1-8;
        ZIP code                                                                                                                                                          see page 2 for list                                           Fair Rental Days        Personal Use Days
      RENTAL INCOME
      100 STRADTMAN ROAD
 A . ..................................................................................................................................................................
      CHEEKTOWAGA                            NY 14206                                                  4
                                                                                      COMMERCIAL                                   365

 B . ..................................................................................................................................................................




 C . ..................................................................................................................................................................




 D . ..................................................................................................................................................................


                                                                                                                                                                                              Properties
        Rental Real Estate Income                                                                                           A                                                   B                                                   C                                D
 2      Gross rents . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 2                              137,048
        Rental Real Estate Expenses
 3      Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 3
 4      Auto and travel . . . . . . . . . . . . . . . . . . . . . . . .                     4
 5      Cleaning and maintenance . . . . . . . . . . . .                                    5
 6      Commissions . . . . . . . . . . . . . . . . . . . . . . . . . .                     6                                    3,456
 7      Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               7                                   15,187
 8      Legal and other professional fees . . . . .                                         8                                   24,858
 9      Interest (see instructions) . . . . . . . . . . . . . .                             9                                   35,800
10      Repairs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             10                                  30,079
11      Taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           11                                     800
12      Utilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           12                                   2,999
13      Wages and salaries . . . . . . . . . . . . . . . . . . .                            13
14      Depreciation (see instructions) . . . . . . . .                                     14
15      Other (list)  . . . . . . . . . . . . . . . . . . . . . . . . . .
            SEE STATEMENT 5
        .........................................                                           15                                  10,244

16      Total expenses for each property.
        Add lines 3 through 15 . . . . . . . . . . . . . . . .                              16                             123,423
17      Income or (loss) from each property.
                                                17
        Subtract line 16 from line 2 . . . . . . . . . . . .      13,625
18a Total gross rents. Add gross rents from line 2, columns A through H . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 18a               137,048
  b Total expenses. Add total expenses from line 16, columns A through H . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                        18b (             123,423 )
19      Net gain (loss) from Form 4797, Part II, line 17, from the disposition of property from rental real
        estate activities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   19
20a     Net income (loss) from rental real estate activities from partnerships, estates, and trusts in which
        this partnership or S corporation is a partner or beneficiary (from Schedule K-1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         20a
     b Identify below the partnerships, estates, or trusts from which net income (loss) is shown on line
       20a. Attach a schedule if more space is needed.
       (1) Name                                                                                         (2) Employer identification number
                . ..........................................................................................                                                                                            . ....................

                . ..........................................................................................                                                                                            . ....................

                . ..........................................................................................                                                                                            . ....................
21      Net rental real estate income (loss). Combine lines 18a through 20a. Enter the result here and on:                                                                                                                                        21                     13,625
         Form 1065 or 1120S: Schedule K, line 2
                Case Act
For Paperwork Reduction 1-23-10949-CLB,
                           Notice, see instructions.Doc 1,                                                                                    Form 8825 (Rev. 11-2018)
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